
USCA1 Opinion

	




          July 13, 1994         [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ___________________          No. 94-1062                                                UNITED STATES,                                      Appellee,                                          v.                                    JOSE MARTINEZ,                                Defendant, Appellant.                                  __________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF MASSACHUSETTS                     [Hon. Robert E. Keeton, U.S. District Judge]                                             ___________________                                 ___________________                                        Before                                Selya, Cyr and Boudin,                                   Circuit Judges.                                   ______________                                 ___________________               Charles P. McGinty on brief for appellant.               __________________               Donald  K.  Stern,  United  States Attorney,  and  James  D.               _________________                                  _________          Herbert, Assistant United States  Attorney, on Motion for Summary          _______          Disposition for appellee.                                  __________________                                  __________________                      Per Curiam.   The government has  moved for summary                      __________            affirmance of the district court's order revoking defendant's            supervised release.                        Defendant  pleaded guilty to a charge of possession            with intent to distribute cocaine,  in violation of 21 U.S.C.               841(a)(1).   He was  initially sentenced  to 57  months in            custody followed by three years of supervised release.   H e            conceded at the revocation hearing  that he had violated  the            conditions  of his  supervised release.   The  district court            resentenced  him to  15 months  imprisonment, followed  by 21            months of supervised release.                       On appeal  defendant raises a single issue, "whether            the supervised  release revocation  ["SRR"] provisions  of 18            U.S.C.   3583(e)(3), permit a district court, upon revocation            of  a  term  of  supervised  release,  to  impose a  sentence            combining incarceration  with  a further  term of  supervised            release."                       This court recently  considered the identical issue            in United States v. O'Neil, 11 F.3d 292 (1st Cir.  1993).  We               _____________    ______            held in O'Neil,                      ______                 [T]he SRR provision . . . permits a district court,                 upon revocation of a term of supervised release, to                 impose  a  prison sentence  combining incarceration                 with a further term  of supervised release, so long                 as  (1) the incarcerative  portion of  the sentence                 does not exceed the time limit specified in the SRR                 provision itself,  and (2) the  combined length  of                 the new  prison sentence cum supervision  term does                                          ___                 not  exceed the  duration of  the original  term of                 supervised release.                                         -2-            O'Neil, 11 F.3d at 302.            ______                      Defendant  concedes that the  sentence imposed upon            him comports  with O'Neil.   He argues, however,  that O'Neil                               ______                              ______            was wrongly decided.                        We  decline  defendant's   invitation  to   revisit            O'Neil, especially as all  of defendant's arguments, and most            ______            of the authorities he cites, were aired and considered by the            panel that heard O'Neil.   In this circuit, newly-constituted                             ______            panels are generally bound by prior panel decisions on point.            Broderick v. Roache, 996 F.2d 1294, 1298 (1st Cir. 1993).               _________    ______                      Defendant's reliance on the Supreme  Court's recent            decision  in United  States v.  Granderson, 114  S. Ct.  1259                         ______________     __________            (1994),  is  misplaced.    Granderson  and  O'Neil  addressed                                       __________       ______            different  substantive  and  interpretive   issues  involving            discrete  statutory sections  with different  texts, designs,            and histories.  The  differences which defendant perceives in            the two opinions, including their differing uses of the "rule            of lenity," are a function of the lack of common issues,  not            of differences in analytic method or statutory construction.                       As  the  dispositive  issue   on  appeal  has  been            recently  and  authoritatively decided  by  a  panel of  this            court, and  no other  substantial question is  presented, the            decision below is summarily affirmed.  See Loc. R. 27.1.                                        ________   ___                                         -3-

